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  1
  1   TODD M. ARNOLD (SBN 221868)
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  2
  2   10250 Constellation Blvd., Suite 1700
  3
  3   Los Angeles, CA 90067
      Telephone: (310) 229-1234
  4
  4   Fax: (310) 229-1244
      Email: tma@lnbyb.com
  5
  5
      Attorneys for Debtor and Debtor in Possession
  6
  6

  7
  7
                             UNITED STATES BANKRUPTCY COURT
  8
  8
                              CENTRAL DISTRICT OF CALIFORNIA
  9
  9
                                      LOS ANGELES DIVISION
 10
 10

 11
 11

 12
 12   In re:                                          Case No.: 2:17-bk-20125-RK
 13
 13
      GRAND VIEW FINANCIAL, LLC,                      Chapter 11 Case
 14
 14
                Debtor and Debtor in Possession.
 15
 15                                                   DEBTOR’S NOTICE OF MOTION AND
                                                      MOTION FOR AN ORDER
 16
 16                                                   COMPELLING TURNOVER OF
                                                      PROPERTY OF THE ESTATE;
 17
 17                                                   MEMORANDUM OF POINTS AND
                                                      AUTHORITIES AND DECLARATION IN
 18
 18                                                   SUPPORT THEREOF
 19
 19
                                                      Hearing:
 20
 20                                                   Date:      June 19, 2018
 21
 21                                                   Time:      2:30 p.m.
                                                      Place:     Courtroom 1675
 22
 22                                                              255 E. Temple St.
                                                                 Los Angeles, CA 90012
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  1
  1          PLEASE TAKE NOTICE THAT a hearing will be held at the above referenced date,

  2
  2   time, and location to consider this motion (the “Motion”) by Grand View Financial, LLC, the

  3
  3   debtor and debtor in possession herein (the “Debtor”), for the entry of an order compelling (a)

  4
  4   Shirley Hanes (“Hanes”) and any other occupants of 1130 N. Edison Street, Stockton, CA

  5
  5   95208 (the “N. Edison Property”) to turnover possession of the N. Edison Property to the

  6
  6   Debtor and (b) Hanes to turnover and pay the Debtor $8,225.00 in currently owed rent, property

  7
  7   insurance payments, and late fees and any additional rent, property insurance payments, and late

  8
  8   fees accruing hereafter (the “N. Edison Rent”) pursuant to the terms of that certain Month to

  9
  9   Month Rental Agreement between the Debtor and Hanes for the lease of the N. Edison Property

 10
 10   (the “N. Edison Lease”), and (2) (a) Stephen Ho (“Ho” and, with Hanes, the “Subject Tenants”)

 11
 11   and any other occupants of 185 Linden Avenue, San Bruno, CA 94066 (the “Linden Property”

 12
 12   and, with the N. Edison Property, the “Subject Properties”) to turnover possession of the Linden

 13
 13   Property to the Debtor and (b) Ho to turnover and pay the Debtor $41,580.00 in currently owed

 14
 14   rent, property insurance payments, and late fees and any additional rent, property insurance

 15
 15   payments, and late fees accruing hereafter (the “Linden Rent” and, with the N. Edison Rent, the

 16
 16   “Subject Rent”) pursuant to the terms of that certain Month to Month Rental Agreement

 17
 17   between the Debtor and Ho for the lease of the Linden Property (the “Linden Lease” and, with

 18
 18   the N. Edison Lease, the “Subject Leases”).

 19
 19          PLEASE TAKE FURTHER NOTICE that this Motion is based upon this Notice and

 20
 20   Motion and the Memorandum and Declaration of Steve Rogers annexed hereto, 11 U.S.C. §

 21
 21   542, Local Bankruptcy Rule (“LBR”) 9013-1, the record in this case, and all arguments made at

 22
 22   the hearing on the Motion.

 23
 23          PLEASE TAKE FURTHER NOTICE that, pursuant to LBR 9013-1(f), any

 24
 24   opposition to the Motion must (1) be in writing and include all reasons and evidence in support

 25
 25   of the opposition, (2) be filed at least fourteen (14) days prior to the hearing on the Motion, and

 26
 26   (3) be served on the United States Trustee and counsel for the Debtors.

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 27

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  1
  1          PLEASE TAKE FURTHER NOTICE that, pursuant to LBR 9013-1(h), the Court

  2
  2   may deem the failure of any party to file a timely opposition to the Motion to constitute consent

  3
  3   to the granting of the Motion and the relief requested therein.

  4
  4          WHEREFORE, the Debtor respectfully requests that the Court enter an order

  5
  5          (1)     granting the Motion;

  6
  6          (2)     compelling (a) Hanes and any other occupants of the N. Edison Property to

  7
  7   turnover possession of the N. Edison Property to the Debtor and (b) Hanes to turnover and pay

  8
  8   the N. Edison Rent owed under the N. Edison Lease;

  9
  9          (3)     compelling Ho and any other occupants of the Linden Property to turnover

 10
 10   possession of the Linden Property to the Debtor and (b) Ho to turnover and pay the Linden Rent
 11
 11   owed under the Linden Lease; and
 12
 12          (4)     granting such other and further relief as the Court deems just and proper.
 13
 13   Dated: May 17, 2018                           GRAND VIEW FINANCIAL, LLC
 14
 14

 15
 15                                                 By:    Todd M. Arnold
                                                           TODD M. ARNOLD
 16
 16                                                 LEVENE, NEALE, BENDER, YOO
                                                      & BRILL L.L.P.
 17
 17
                                                    Attorneys for Debtor and Debtor in Possession
 18
 18

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  1
  1                     MEMORANDUM OF POINTS AND AUTHORITIES1

  2
  2                                                  I.

  3
  3                                    STATEMENT OF FACTS

  4
  4   A.     GENERAL BACKGROUND.

  5
  5          On August 17, 2017 (the “Petition Date”), the Debtor commenced its bankruptcy case

  6
  6   by filing a voluntary petition under Chapter 11 of 11 U.S.C. § 101 et seq. (the “Bankruptcy

  7
  7   Code”).2 The Debtor is operating its estate and managing its financial affairs as a debtor in

  8
  8   possession pursuant to Sections 1107 and 1108.         An Official Committee of Unsecured

  9
  9   Creditors has not been formed.

 10
 10   B.     THE DEBTOR’S BUSINESS AND REAL PROPERTY.

 11
 11          The Debtor is a Wyoming limited liability company that was formed in 2015. The

 12
 12   Debtor is in the business of acquiring distressed real property (each a “Property” and,

 13
 13   collectively, the “Properties”) in situations where public records and documents available to the

 14
 14   Debtor demonstrate that the claim allegedly secured by the underlying subject Property (each an

 15
 15   “Alleged Secured Claim” and, collectively, the “Alleged Secured Claims”) and the related trust

 16
 16   deed purportedly securing the Alleged Secured Claim pursuant to a lien on the subject Property

 17
 17   (each an “Alleged Lien” and, collectively, the “Alleged Secured Liens”) suffer from defects

 18
 18   rendering the Alleged Secured Claim and/or related Alleged Lien unenforceable and/or invalid.

 19
 19   The defects are often the same defects that were part of the mortgage crisis and resulting

 20
 20   implosion of the U.S. economy 2007 and/or were the result of efforts by surviving lenders,

 21
 21   servicers and mortgage trustees to quickly foreclose on and liquidate real estate assets without

 22
 22   following applicable law.

 23
 23          In situations where the Debtor identifies a Property it is interested in acquiring, the

 24
 24   Debtor seeks to enter into a group of agreements with the then owner of the Property (each a

 25
 25

 26
 26   1
        All capitalized terms herein have the same meanings as in the preceding Notice of Motion
      and Motion.
 27
 27   2
        Unless otherwise stated, all Section references herein are to the Bankruptcy Code.
 28
 28


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  1
  1   “Former Owner” and, collectively, the “Former Owners”) intended to mutually benefit the

  2
  2   Debtor and the Former Owner. In a typical transaction in which the Debtor acquires a Property:

  3
  3          (1)     the Debtor and the Former Owner execute a Real Estate Shared-Equity

  4
  4   Transaction & Purchase and Sale Agreement (each a “Sale Agreement” and, collectively, the

  5
  5   “Sale Agreements”) pursuant to which, among other things, the Former Owner sells the subject

  6
  6   Property to the Debtor in exchange for an Unsecured Promissory Note (each an “Unsecured

  7
  7   Note” and, collectively, the “Unsecured Notes”) from the Debtor in a mutually agreed upon

  8
  8   amount, which Unsecured Note is only payable in the event the Debtor is able to eliminate the

  9
  9   Alleged Lien on the Property (at the sole expense of the Debtor) thereby increasing the equity in

 10
 10   the Property, which is to be shared between the Former Owner and the Debtor according to the

 11
 11   terms of the subject Sale Agreement and Unsecured Note;

 12
 12          (2)     the Former Owner executes a Grant Deed (or sometimes a Warranty Deed or

 13
 13   Quitclaim Deed) transferring title to the Property to the Debtor; and

 14
 14          (3)     the Debtor and the Former Owner execute a Month to Month Rental Agreement

 15
 15   (each a “Rental Agreement” and, collectively, the “Rental Agreements”) whereby the Former

 16
 16   Owner leases back the Property from the Debtor.

 17
 17          Through the Petition Date, the Debtor acquired approximately 42 Properties.

 18
 18   Unfortunately, prior to the Petition Date, approximately 28 of the approximately 42 Properties

 19
 19   (each a “Foreclosure Property” and, collectively, the “Foreclosure Properties”) were purportedly

 20
 20   foreclosed upon. As noted herein, the Debtor disputes the enforceability and validity of the

 21
 21   Alleged Secured Claims and Alleged Liens forming the purported basis for the foreclosures on

 22
 22   the Foreclosure Properties and/or the standing of the parties effectuating the foreclosures and,

 23
 23   therefore, the validity of the purported foreclosures on the Foreclosure Properties, which the

 24
 24   Debtor will seek to invalidate, reverse, or avoid.

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 25

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  1
  1   C.     THE REASONS FOR FILING BANKRUPTCY AND THE DEBTOR’S EXIT
             STRATEGY AND MEANS AND EFFORTS TO IMPLEMENT IT.
  2
  2
             On the Petition Date of August 17, 2017, the Debtor filed the instant Chapter 11
  3
  3
      bankruptcy case in order to, inter alia, (1) address and resolve various claims against the
  4
  4
      Debtor, including, but not limited to the Alleged Secured Claims, (2) where necessary,
  5
  5
      invalidate purported pre-Petition Date foreclosures on the Foreclosure Properties and/or avoid
  6
  6
      alleged transfers pursuant to purported pre-Petition Date foreclosures on the Foreclosure
  7
  7
      Properties and recover title to the Foreclosed Properties, (3) facilitate the sale of the Debtor’s
  8
  8
      Properties free and clear of all liens, claims, and interests, and (4) propose and confirm a
  9
  9
      Chapter 11 plan of reorganization.
 10
 10
             As of the Petition Date, the Debtor intended to initiate actions (each an “Avoidance
 11
 11
      Action” and, collectively, the “Avoidance Actions”) to invalidate, reverse, or avoid the
 12
 12
      purported foreclosures on the Foreclosure Properties, to initiate claim objections (each a “Claim
 13
 13
      Objection” and, collectively, the “Claim Objections”) to challenge and eliminate all of the
 14
 14
      Alleged Secured Claims and related Alleged Liens, to sell the resulting unencumbered
 15
 15
      Properties for the highest and best price (subject to any rights of first refusal a Former Owner
 16
 16
      may have to repurchase the subject Property), and to propose and confirm a Plan whereby all
 17
 17
      allowed secured claims (which the Debtor believes will be limited to some tax claims against
 18
 18
      certain of the Properties), administrative claims, priority claims, and general unsecured claims
 19
 19
      (largely if not entirely comprised of amounts payable to the Former Owners pursuant to the
 20
 20
      Unsecured Notes) will be paid in full, with the surplus distributed to the Debtor’s owners, which
 21
 21
      is the Debtor’s exit strategy. The Debtor has begun to initiate Avoidance Actions, some of
 22
 22
      which include Claim Objections, and the Debtor will continue to initiate Avoidance Actions in
 23
 23
      furtherance of the Debtor’s exit strategy.
 24
 24
             Also in furtherance of its exit strategy, the Debtor (1) obtained Court authority to
 25
 25
      employ Keller Williams (the “Broker”) real estate broker to market and sell the Properties at the
 26
 26
      appropriate time [see Dkts. 33 and 87] and (2) with the assistance of the Broker, began to
 27
 27
      market for sale certain Properties that are not Foreclosed Properties.
 28
 28


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  1
  1          Finally, the Debtor obtained a general claims bar date of May 4, 2018 (the “Bar Date”)

  2
  2   and provided notice thereof. [Dkt. 184]

  3
  3   D.     THE SUBJECT PROPERTIES FOR WHICH THE DEBTOR IS SEEKING
  4
  4          TURNOVER OF POSSESSION AND BACK-RENT.
             N. EDISON LEASE
  5
  5
             On or about October 7, 2016, the Debtor entered into the N. Edison Lease with Hanes
  6
  6
      regarding the lease of the N. Edison Property to Hanes. A true and correct copy of the N.
  7
  7
      Edison Lease is attached hereto as Exhibit “1.” As can be seen, the N. Edison Lease provides
  8
  8
      for (1) a month to month lease of the N. Edison Property by Hanes from the Debtor, (2) $1,075
  9
  9
      in monthly rent payable to the Debtor, which monthly rent was later reduced to $1,000, (3) a
 10
 10
      10% late fee on unpaid rent, (4) tenant to be responsible for reimbursing the Debtor for the
 11
 11
      payment of property insurance, and (5) the right of either party to terminate the N. Edison
 12
 12
      Lease on thirty (30) days written notice and for Hanes to surrender the property and keys back
 13
 13
      to the Debtor upon termination of the N. Edison Lease (see N. Edison Lease, ¶¶ 4, 5, 11 and
 14
 14
      12).
 15
 15
             As of the Date hereof, Hanes failed to pay $8,225 in rent, property insurance, and late
 16
 16
      fees owed to the Debtor pursuant to the N. Edison Lease. See Exhibit “2” hereto, which is a
 17
 17
      summary of Subject Rent owed on the Subject Properties discussed herein. Based on the
 18
 18
      foregoing, and because the Debtor desires to sell the N. Edison Property and needs access to
 19
 19
      such property to market it and effectuate a sale, on May 17, 2018, pursuant to its rights under
 20
 20
      the N. Edison Lease, the Debtor sent a notice to Hanes terminating the N. Edison Lease. A
 21
 21
      true and correct copy of that termination letter is attached hereto as Exhibit “3.” Therefore,
 22
 22
      the N. Edison Lease will terminate effective as of June 17, 2018, at which point the Debtor will
 23
 23
      be entitled to possession of the N. Edison Property and Hanes is required to surrender the N.
 24
 24
      Edison Property and the keys thereto to the Debtor.
 25
 25
             Hanes was scheduled with a contingent claim in the Debtor’s bankruptcy Schedules.
 26
 26
      See Exhibit “4,” which is a true and correct copy of the relevant pages of the Debtor’s most
 27
 27

 28
 28


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  1
  1   recently filed amended Schedules of Assets and Liabilities (the “Schedules”). Hanes did not

  2
  2   file a proof of claim and the Bar Date has passed. See Exhibit “5” hereto, which is a copy of

  3
  3   the claims docket in this case. Therefore, Hanes has no claim against the Debtor that can be

  4
  4   setoff against the N. Edison Rent.

  5
  5          LINDEN LEASE

  6
  6          On or about July 29, 2016, the Debtor entered into the Linden Lease with Ho regarding

  7
  7   the lease of the Linden Property to Ho. A true and correct copy of the Linden Lease is attached

  8
  8   hereto as Exhibit “6.” As can be seen, the Linden Lease provides for (1) a month to month

  9
  9   lease of the Linden Property by Ho from the Debtor, (2) $1,725 in monthly rent payable to the

 10
 10   Debtor, which monthly rent was later reduced to $1,650, (3) a 10% late fee on unpaid rent, (4)

 11
 11   tenant to be responsible for reimbursing the Debtor for the payment of property insurance, and

 12
 12   (5) the right of either party to terminate the Linden Lease on thirty (30) days written notice and

 13
 13   for Ho to surrender the property and keys back to the Debtor upon termination of the Linden

 14
 14   Lease (see Linden Lease, ¶¶ 4, 5, 11 and 12).

 15
 15          As of the Date hereof, Ho failed to pay $41,580 in rent, property insurance, and late

 16
 16   fees owed to the Debtor pursuant to the Linden Lease. See Exhibit “2” hereto, which is a

 17
 17   summary of Subject Rent owed on the Subject Properties discussed herein. Based on the

 18
 18   foregoing, and because the Debtor desires to sell the Linden Property and needs access to such

 19
 19   property to market it and effectuate a sale, on May 17, 2018, pursuant to its rights under the

 20
 20   Linden Lease, the Debtor sent a notice to Ho terminating the Linden Lease. A true and correct

 21
 21   copy of that termination letter is attached hereto as Exhibit “7.” Therefore, the Linden Lease

 22
 22   will terminate effective as of June 17, 2018, at which point the Debtor will be entitled to

 23
 23   possession of the Linden Property and Ho is required to surrender the Linden Property and the

 24
 24   keys thereto to the Debtor.

 25
 25          Ho was scheduled with a contingent claim in the Debtor’s bankruptcy Schedules. See

 26
 26   Exhibit “4,” which is a true and correct copy of the relevant pages of the Debtor’s most

 27
 27   recently filed Schedules. Ho did not file a proof of claim and the Bar Date has passed. See

 28
 28


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  1
  1   Exhibit “5” hereto, which is a copy of the claims docket in this case. Therefore, Ho has no

  2
  2   claim against the Debtor that can be setoff against the Linden Rent.

  3
  3                                                     II.

  4
  4                                              DISCUSSION

  5
  5   A.     THE DEBTOR IS ENTITLED TO TURNOVER OF THE SUBJECT
  6
  6          PROPERTIES AND THE PAYMENT OF BACK-RENT OWED UNDER THE
             SUBJECT LEASES FOR THE SUBJECT PROPERTIES.
  7
  7
             The commencement of a bankruptcy case creates an estate. 11 U.S.C. § 541(a). “Such
  8
  8
      estate is comprised of all the following property, wherever located and by whomever held: (1)
  9
  9
      Except as provided in subsections (b) and (c)(2) of this section, all legal or equitable interests of
 10
 10
      the debtor in property as of the commencement of the case…. and (7) Any interest in property
 11
 11
      that the estate acquires after the commencement of the case.” Id.
 12
 12
             The House and Senate Reports on the Bankruptcy Code indicate that § 541(a)(1)’s scope
 13
 13
      is broad and includes all kinds of property, including property in which the debtor did not have
 14
 14
      a possessory interest at the time the bankruptcy proceedings commenced. U.S. v. Whiting
 15
 15
      Pools, Inc., 462 U.S. 198, 204–05, 103 S. Ct. 2309, 2313–14, 76 L. Ed. 2d 515 (1983). As
 16
 16
      noted, under Section 541(a)(1), property of the estate includes “all legal or equitable interests of
 17
 17
      the debtor in property as of the commencement of the case.” This expansive language is not
 18
 18
      ambiguous—all means all. But even assuming the statute is ambiguous, this provision has been
 19
 19
      consistently interpreted by the courts to have the broadest possible scope. “Congress intended a
 20
 20
      broad range of property to be included in the estate.... The statutory language reflects this scope
 21
 21
      of the estate.... The house and senate reports on the Bankruptcy Code indicate that § 541(a)(1)’s
 22
 22
      scope is broad.” Whiting Pools, 462 U.S. at 204 (1983); accord, Cusano v. Klein, 264 F.3d 936,
 23
 23
      945 (9th Cir.2001).
 24
 24
             Section 542(a) states, “[e]xcept as provided in subsection (c) or (d) of this section [not
 25
 25
      applicable here], an entity, other than a custodian, in possession, custody, or control, during the
 26
 26
      case, of property that the trustee may use, sell, or lease under section 363 of this title, or that the
 27
 27
      debtor may exempt under section 522 of this title, shall deliver to the trustee [or Debtor in
 28
 28


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  1
  1   Possession], and account for, such property or the value of such property, unless such property

  2
  2   is of inconsequential value or benefit to the estate.” 11 U.S.C. §§ 542(a) and 1107.

  3
  3          Further, Section 542(b) states, “[e]xcept as provided in subsection (c) or (d) of this

  4
  4   section [not applicable here], an entity that owes a debt that is property of the estate and that is

  5
  5   matured, payable on demand, or payable on order, shall pay such debt to, or on the order of, the

  6
  6   trustee [or Debtor in Possession], except to the extent that such debt may be offset under section

  7
  7   553 of this title against a claim against the debtor. 11 U.S.C. §§ 542(b) and 1107.

  8
  8          Here, the Subject Tenants are in possession, custody or control of the Subject Properties,

  9
  9   which constitute property of the estate that the Debtor can sell or lease. In fact, the Debtor

 10
 10   intends to sell the Subject Properties but needs to gain access to the Subject Properties so that
 11
 11   the Debtor’s Broker can assess the value of the Subject Properties and proceed to list and
 12
 12   market them for sale and the Debtor can seek approval of such sales pursuant to Section 363.
 13
 13   Further, since the Subject Tenants are materially delinquent on their rent obligations under the
 14
 14   Subject Leases, at minimum, the Debtor is entitled to lease the Subject Properties to paying
 15
 15   tenants. Based on the foregoing, and because, as a result of the Debtor’s exercise of its right to
 16
 16   terminate the Subject Leases effective as of June 17, 2018, the Subject Tenants no longer have a
 17
 17   right to occupy the Subject Properties, the Debtor is entitled to turnover thereof pursuant to
 18
 18   Section 542(a).
 19
 19          In addition to the foregoing, the Debtor is entitled to turnover of the delinquent Subject

 20
 20   Rent owed by the Subject Tenants pursuant to Section 542(b), as the Subject Rent is property of

 21
 21   the estate that has matured and may not be offset, as none of the Subject Tenants filed any
 22
 22   claims that could form the basis for turnover.
 23
 23   B.     THE DEBTOR MAY SEEK TURNOVER PURSUANT TO MOTION.
 24
 24          The Debtor should not need to file an adversary proceeding for the requested relief. Case

 25
 25   law supports the Debtor’s efforts to recover property of the estate by motion practice. See

 26
 26   Sterling Mining Company v. Sunshine Precious Metals, Inc., 2009 WL 2514159, at *3 (Bankr.

 27
 27   D. Idaho Aug. 14, 2009) (finding that case law provides exceptions to the “adversary

 28
 28


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  1
  1   proceeding” rule regarding requests for turnover of property), citing Austein v. Schwartz (In re

  2
  2   Gerwer), 898 F.2d 730 (9th Cir. 1990) (where the court concluded that the trustee’s prosecution

  3
  3   of a turnover request by motion rather than adversary proceeding did not harm the third party, a

  4
  4   creditor, and the failure to require the different procedural process was harmless error); see also

  5
  5   10 COLLIER    ON   BANKRUPTCY ¶ 9014.01, at 9014-4 (even where a contested matter is

  6
  6   commenced by motion instead of a proper adversary proceeding, so long as due process has

  7
  7   bene afforded to the responding party, the courts will apply the harmless error rule and not force

  8
  8   the parties to start all over again); Korneff v. Downey Regional Medical Center (In re Downey

  9
  9   Regional Medical Center), 441 B.R. 120, 128 (B.A.P. 9th Cir. 2010) (same); United Student Aid

 10
 10   Funds, Inc. v. Espinosa, 559 U.S. 260, 272 (2010) (Supreme Court unanimously reasoning and

 11
 11   holding that, even when an adversary proceeding is required, the real importance is actual notice

 12
 12   and an opportunity to be heard and stating that “[d]ue process requires notice reasonably

 13
 13   calculated, under all the circumstances, to apprise interested parties of the pendency of the

 14
 14   action and afford them an opportunity to present their objections.”) (internal cites and quotes

 15
 15   omitted).

 16
 16          In Sterling Mining Company v. Sunshine Precious Metals, Inc., 2009 WL 2514159, the

 17
 17   debtor in possession brought an emergency motion in the main chapter 11 case, not in an

 18
 18   adversary proceeding, but the bankruptcy court accepted and heard the motion as filed in the

 19
 19   bankruptcy court because due process had been afforded to the opposing party. Here, the

 20
 20   Debtor has brought this motion on regular notice with full opportunity for opposing parties to

 21
 21   object to the Motion and participate at the hearing on the Motion.

 22
 22          In In re Gerwer, 898 F.2d 730 (9th Cir. 1990), the debtors at issue held interests in notes

 23
 23   and deeds of trust (similarly, here, the Debtor holds an interest in the Subject Properties, Subject

 24
 24   Leases, and Subject Rent). See In re Gerwer, 898 F. 2d at 732. The trustee in that case sought

 25
 25   the turnover of the estate’s interests in such property in order to effectuate a sale of such

 26
 26   property (similarly, here, the Debtor seeks to market and sell the Subject Properties). The Ninth

 27
 27   Circuit found that the request for turnover by motion did not harm the objecting creditor. Id. at

 28
 28


                                                       11
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  1
  1   734; see also Ruvacalba v. Munoz (In re Munoz), 287 B.R. 546, 551 (B.A.P. 9th Cir. 2002)

  2
  2   (recognizing that when the record of a contested matter is developed to a sufficient degree that

  3
  3   the record of an adversary proceeding likely would not have been materially different, any

  4
  4   “error” in procedure is harmless and does not affect the substantial rights of the parties).

  5
  5                                                   III.

  6
  6                                            CONCLUSION

  7
  7          WHEREFORE, the Debtor respectfully requests that the Court enter an order

  8
  8          (1)     granting the Motion;

  9
  9          (2)     compelling (a) Hanes and any other occupants of the N. Edison Property to

 10
 10   turnover possession of the N. Edison Property to the Debtor and (b) Hanes to turnover and pay

 11
 11   the N. Edison Rent owed under the N. Edison Lease;

 12
 12          (3)     compelling Ho and any other occupants of the Linden Property to turnover

 13
 13   possession of the Linden Property to the Debtor and (b) Ho to turnover and pay the Linden Rent

 14
 14   owed under the Linden Lease; and

 15
 15          (4)     granting such other and further relief as the Court deems just and proper.

 16
 16   Dated: May 17, 2018                            GRAND VIEW FINANCIAL, LLC
 17
 17

 18
 18                                                  By:    Todd M. Arnold
                                                            TODD M. ARNOLD
 19
 19                                                  LEVENE, NEALE, BENDER, YOO
                                                       & BRILL L.L.P.
 20
 20
                                                     Attorneys for Debtor and Debtor in Possession
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  1
  1

  2
  2                                 DECLARATION OF STEVE ROGERS

  3
  3           I, STEVE ROGERS, hereby declare as follows:

  4
  4           1.         I am over 18 years of age. Except where otherwise stated, I have personal

  5
  5   knowledge of the facts set forth below and, if called to testify, would and could competently

  6
  6   testify thereto.

  7
  7           2.         I am the Managing Member and Vice President of Grand View Financial, LLC,

  8
  8   the debtor and debtor in possession herein (the “Debtor”). I am familiar with the Debtor’s

  9
  9   books and records maintained in the ordinary course of the Debtor’s business, the Debtor’s bank

 10
 10   accounts, and the Debtor’s business and operations.

 11
 11           3.         I make this Declaration in support of the Motion to which this Declaration is

 12
 12   attached. Unless otherwise stated, all capitalized terms herein have the same meaning as in the

 13
 13   Motion.

 14
 14           4.         On August 17, 2017 (the “Petition Date”), the Debtor commenced its bankruptcy

 15
 15   case by filing a voluntary petition under Chapter 11. The Debtor is operating its estate and

 16
 16   managing its financial affairs as a debtor in possession pursuant to Sections 1107 and 1108. An

 17
 17   Official Committee of Unsecured Creditors has not been formed.

 18
 18           5.         The Debtor is a Wyoming limited liability company that was formed in 2015.

 19
 19   The Debtor is in the business of acquiring distressed real property (each a “Property” and,

 20
 20   collectively, the “Properties”) in situations where public records and documents available to the

 21
 21   Debtor demonstrate that the claim allegedly secured by the underlying subject Property (each an

 22
 22   “Alleged Secured Claim” and, collectively, the “Alleged Secured Claims”) and the related trust

 23
 23   deed purportedly securing the Alleged Secured Claim pursuant to a lien on the subject Property

 24
 24   (each an “Alleged Lien” and, collectively, the “Alleged Secured Liens”) suffer from defects

 25
 25   rendering the Alleged Secured Claim and/or related Alleged Lien unenforceable and/or invalid.

 26
 26   The defects are often the same defects that were part of the mortgage crisis and resulting

 27
 27   implosion of the U.S. economy 2007 and/or were the result of efforts by surviving lenders,

 28
 28


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  1
  1   servicers and mortgage trustees to quickly foreclose on and liquidate real estate assets without

  2
  2   following applicable law.

  3
  3          6.     In situations where the Debtor identifies a Property it is interested in acquiring,

  4
  4   the Debtor seeks to enter into a group of agreements with the then owner of the Property (each a

  5
  5   “Former Owner” and, collectively, the “Former Owners”) intended to mutually benefit the

  6
  6   Debtor and the Former Owner. In a typical transaction in which the Debtor acquires a Property:

  7
  7                 (a)     the Debtor and the Former Owner execute a Real Estate Shared-Equity

  8
  8      Transaction & Purchase and Sale Agreement (each a “Sale Agreement” and, collectively,

  9
  9      the “Sale Agreements”) pursuant to which, among other things, the Former Owner sells the

 10
 10      subject Property to the Debtor in exchange for an Unsecured Promissory Note (each an

 11
 11      “Unsecured Note” and, collectively, the “Unsecured Notes”) from the Debtor in a mutually

 12
 12      agreed upon amount, which Unsecured Note is only payable in the event the Debtor is able

 13
 13      to eliminate the Alleged Lien on the Property (at the sole expense of the Debtor) thereby

 14
 14      increasing the equity in the Property, which is to be shared between the Former Owner and

 15
 15      the Debtor according to the terms of the subject Sale Agreement and Unsecured Note;

 16
 16                 (b)     the Former Owner executes a Grant Deed (or sometimes a Warranty

 17
 17      Deed or Quitclaim Deed) transferring title to the Property to the Debtor; and

 18
 18                 (c)     the Debtor and the Former Owner execute a Month to Month Rental

 19
 19      Agreement (each a “Rental Agreement” and, collectively, the “Rental Agreements”)

 20
 20      whereby the Former Owner leases back the Property from the Debtor.

 21
 21          7.     Through the Petition Date, the Debtor acquired approximately 42 Properties.

 22
 22   Unfortunately, prior to the Petition Date, approximately 28 of the approximately 42 Properties

 23
 23   (each a “Foreclosure Property” and, collectively, the “Foreclosure Properties”) were purportedly

 24
 24   foreclosed upon. As noted herein, the Debtor disputes the enforceability and validity of the

 25
 25   Alleged Secured Claims and Alleged Liens forming the purported basis for the foreclosures on

 26
 26   the Foreclosure Properties and/or the standing of the parties effectuating the foreclosures and,

 27
 27   therefore, the validity of the purported foreclosures on the Foreclosure Properties, which the

 28
 28


                                                     14
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  1
  1   Debtor will seek to invalidate, reverse, or avoid.

  2
  2          8.      On the Petition Date of August 17, 2017, the Debtor filed the instant Chapter 11

  3
  3   bankruptcy case in order to, inter alia, (1) address and resolve various claims against the

  4
  4   Debtor, including, but not limited to the Alleged Secured Claims, (2) where necessary,

  5
  5   invalidate purported pre-Petition Date foreclosures on the Foreclosure Properties and/or avoid

  6
  6   alleged transfers pursuant to purported pre-Petition Date foreclosures on the Foreclosure

  7
  7   Properties and recover title to the Foreclosed Properties, (3) facilitate the sale of the Debtor’s

  8
  8   Properties free and clear of all liens, claims, and interests, and (4) propose and confirm a

  9
  9   Chapter 11 plan of reorganization.

 10
 10          9.      As of the Petition Date, the Debtor intended to initiate actions (each an
 11
 11   “Avoidance Action” and, collectively, the “Avoidance Actions”) to invalidate, reverse, or avoid
 12
 12   the purported foreclosures on the Foreclosure Properties, to initiate claim objections (each a

 13
 13   “Claim Objection” and, collectively, the “Claim Objections”) to challenge and eliminate all of

 14
 14   the Alleged Secured Claims and related Alleged Liens, to sell the resulting unencumbered

 15
 15   Properties for the highest and best price (subject to any rights of first refusal a Former Owner

 16
 16   may have to repurchase the subject Property), and to propose and confirm a Plan whereby all

 17
 17   allowed secured claims (which the Debtor believes will be limited to some tax claims against

 18
 18   certain of the Properties), administrative claims, priority claims, and general unsecured claims

 19
 19   (largely if not entirely comprised of amounts payable to the Former Owners pursuant to the

 20
 20   Unsecured Notes) will be paid in full, with the surplus distributed to the Debtor’s owners, which

 21
 21   is the Debtor’s exit strategy. The Debtor has begun to initiate Avoidance Actions, some of

 22
 22   which include Claim Objections, and the Debtor will continue to initiate Avoidance Actions in

 23
 23   furtherance of the Debtor’s exit strategy.

 24
 24          10.     Also in furtherance of its exit strategy, the Debtor (1) obtained Court authority to

 25
 25   employ Keller Williams (the “Broker”) real estate broker to market and sell the Properties at the

 26
 26   appropriate time [see Dkts. 33 and 87] and (2) with the assistance of the Broker, began to

 27
 27   market for sale certain Properties that are not Foreclosed Properties.

 28
 28


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  1
  1          11.     Finally, the Debtor obtained a general claims bar date of May 4, 2018 (the “Bar

  2
  2   Date”) and provided notice thereof. [Dkt. 184]

  3
  3          12.     On or about October 7, 2016, the Debtor entered into the N. Edison Lease with

  4
  4   Hanes regarding the lease of the N. Edison Property to Hanes. A true and correct copy of the N.

  5
  5   Edison Lease is attached hereto as Exhibit “1.”

  6
  6          13.     As of the Date hereof, Hanes failed to pay $8,225 in rent, property insurance, and

  7
  7   late fees owed to the Debtor pursuant to the N. Edison Lease. See Exhibit “2” hereto, which is

  8
  8   a summary of Subject Rent owed on the Subject Properties discussed herein, which was

  9
  9   prepared and is based on the Debtor’s books and records. Based on the foregoing, and because

 10
 10   the Debtor desires to sell the N. Edison Property and needs access to such property to market it

 11
 11   and effectuate a sale, on May 17, 2018, pursuant to its rights under the N. Edison Lease, the

 12
 12   Debtor, acting through counsel, sent a notice to Hanes terminating the N. Edison Lease. A true

 13
 13   and correct copy of that termination letter is attached hereto as Exhibit “3.”

 14
 14          14.     Hanes was scheduled with a contingent claim in the Debtor’s bankruptcy

 15
 15   Schedules. See Exhibit “4,” which is a true and correct copy of the relevant pages of the

 16
 16   Debtor’s most recently filed amended Schedules of Assets and Liabilities (the “Schedules”).

 17
 17   Hanes did not file a proof of claim and the Bar Date has passed. See Exhibit “5” hereto, which

 18
 18   is a copy of the claims docket in this case.

 19
 19          15.     On or about July 29, 2016, the Debtor entered into the Linden Lease with Ho

 20
 20   regarding the lease of the Linden Property to Ho. A true and correct copy of the Linden Lease

 21
 21   is attached hereto as Exhibit “6.”

 22
 22          16.     As of the Date hereof, Ho failed to pay $41,580 in rent, property insurance, and

 23
 23   late fees owed to the Debtor pursuant to the Linden Lease. See Exhibit “2” hereto, which is a

 24
 24   summary of Subject Rent owed on the Subject Properties discussed herein. Based on the

 25
 25   foregoing, and because the Debtor desires to sell the Linden Property and needs access to such

 26
 26   property to market it and effectuate a sale, on May 17, 2018, pursuant to its rights under the

 27
 27   Linden Lease, the Debtor, acting through counsel, sent a notice to Ho terminating the Linden

 28
 28


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